         Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 1 of 27




                                                                            November 20, 2019
Via ECF
Hon. Paul A. Engelmayer
U.S. District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 1035
New York, NY 10007
   Re: Triton Pacific Securities LLC v. Mission Critical
       Services Corp., Case No. 1:19-cv-05789 PAE (S.D.N.Y.)
Dear Judge Engelmayer,
          On behalf of plaintiff and counterclaim defendant Triton Pacific Securities LLC
 (“Triton”), I write to move for dismissal of the counterclaim asserted by defendant Mission Critical
 Services Corp. (“MCS”) pursuant to this Court’s Order dated September 17, 2019, Docket No. 16
 (the “Order”). The Order gave Triton the option to “file a new motion to dismiss” or to “submit
 a letter to Court, copying MCS, stating that they rely on the previously filed motion to dismiss.”
       Triton does rely, in substantial part, on its previously filed motion. Triton’s motion dated
 September 3, 2019, Docket No. 9 (the “Motion”), sought only a more definite statement of
 Counterclaim Count IX, but it did so based on three potentially fatal flaws in the claim.
         Counterclaim Count IX has now been amended, and it is currently asserted both as
 MCS’s only counterclaim (the “Counterclaim”) and as a “third-party claim” against two
 additional defendants. However, MCS’s amendment made no effort to remedy any of the three
 flaws that Triton’s Motion identified. Further, the Counterclaim repeats MCS’s materially false
 allegation concerning the terms of the parties’ contract and adds new false allegations which are
 essential to the Counterclaim’s viability. Above all, Triton has now located the “demand letter”
 on which MCS’s Counterclaim relies. It demonstrates unambiguously that MCS’s Counterclaim
 has no basis in fact.
          For these reasons, Triton moves to dismiss MCS’s Counterclaim pursuant to Rule
 12(b)(6), Fed. R. Civ. P. Triton respectfully submits that, given the Court’s Order and the fact
 that the Counterclaim seeks less than $2,000 in damages, these issues are sufficiently raised by
 this letter motion. If the Court so directs, Triton can file a separate motion. However, Triton is
 attempting to keep costs down, in part because it seeks reimbursement under Rule 11, Fed. R.


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        Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 2 of 27




Civ. P. Triton’s multiple requests that MCS withdraw its Counterclaim for the reasons stated
here, or put the Counterclaim on hold in view of the small amount at issue, have proved
unsuccessful. Triton has also refused to delay serving third-party defendants until this motion
to dismiss is decided. Because the schedule for this letter-motion precluded filing a separate
motion under Fed. R. Civ. P. 11(c)(2), Triton respectfully seeks sanctions under Rule 11(c)(3).
    1. MCS’s Counterclaim Should Be Dismissed
       Based on Flaws Identified in Triton’s Motion
       Triton’s Motion sought a more definite statement of MCS’s Counterclaim Count IX
based on three potentially fatal flaws in the claim as pled. The Motion argued:
      Counterclaim Count IX seeks approximately $1,500 in interest allegedly due on
      $19,200 that Triton “withheld” from MCS before paying it in November 2017.
      This claim is too vague for Triton reasonably to prepare a response because MCS
      fails to specify when the $19,200 was invoiced or specify, as the parties’ Contract
      expressly requires, that MCS received no written objection to the invoice. Indeed,
      MCS’s allegation that Triton “withheld” the $19,200 indicates that Triton did
      object to MCS’s invoice, and Count IX is based on sums withheld after MCS was
      terminated for incompetence.
      Given MCS’s lack of specificity, Triton cannot determine whether Count IX
      should be dismissed based on the plain words of the parties’ contract or whether it
      should be answered. MCS also fails to allege a required element of the claim:
      that MCS complied with its own contractual obligations, despite its failure to
      provide competent compliance services and its recent misconduct after Triton
      filed its complaint. See, e.g., Remis v. Fried, 31 Misc. 3d 1203 (Sup. Ct. N.Y.
      County 2011) (“the plaintiff's performance of the contract” is an element of a
      breach of contract claim under New York law). MCS therefore should be
      required to provide a more definite statement.
        As this quotation shows, Triton’s Motion identified three principal flaws in Counterclaim
Count IX: (1) it does not state “when the $19,200,” on which Triton allegedly owes interest,
“was invoiced”; (2) it does not “specify, as the parties’ Contract requires, that MCS received no
written objection to the invoice”; and (3) it “fails to allege a required element of the claim: that
MCS complied with its own contractual obligations.” Although these flaws would have justified
moving to dismiss under Fed. R. Civ. P. 12(b)(6), Triton only sought a more definite statement
because the flaws appeared to be easily remediable. However, MCS’s Counterclaim, as amended
from Counterclaim Count IX, makes no attempt to remedy these flaws: it does not allege when
MCS’s $19,250 was invoiced, that Triton did not object to the invoices, or that MCS satisfied
its own contractual obligations. It reads, in full, as follows:


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                                                 2
         Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 3 of 27




       104. Section 4(d) of the Contract provides that TPS and its affiliated entities,
       Triton Pacific Advisors (“TPA”) and Triton Pacific Investment Corporation
       (“TPIC”), will be responsible to pay interest on any amounts invoiced and not
       paid within 30 days at a rate of the lesser of 1.5% per month or the maximum
       amount allowed by law.
       105. Between February 2017 and November 2017, TPS withheld amounts due
       to MCSC for services rendered prior to May 23, 2017 in the aggregate amount of
       $19,250.
       106. TPS was aware that interest was owed because the Contract and each
       invoice sent by MCSC clearly indicate that amounts due are net 15 days and that
       interest commences to accrue thereafter.
       107. Among its efforts to collect this unpaid debt, on or about November 10,
       2017, MCSC sent a demand letter in which it claimed breach of contract and
       contract damages, including specifically interest then owed, and threatened to file
       a draft summons and complaint attached thereto.
       108. The principal amount owed was eventually paid, but not such interest.
       109. MCSC now demands such interest in an amount to be adduced at trial
       together with payment of all costs of collection including attorney’s fees.
(MCS’s Answer dated October 29, 2019, Docket No. 21 (emphasis added).)
        Given MCS’s failure even to attempt to remedy its Counterclaim’s flaws, despite its
 ample opportunity to do so, its Counterclaim should be dismissed. It is both unreasonably vague
 and legal deficient, and should be dismissed for failure to plead at least one essential element.
 See, e.g., Remis v. Fried, 31 Misc. 3d 1203 (Sup. Ct. N.Y. County 2011) (“the plaintiff's
 performance of the contract” is an element of a breach of contract claim under New York law).
     2. MCS’s Counterclaim Should Be Dismissed with Prejudice Because Its
        Essential Allegations Are Disproved by the Documents that MCS Itself Relies On
          MCS’s Counterclaim should also be dismissed, with prejudice, because the contract and
 demand letter that the Counterclaim relies on disprove the Counterclaim’s essential allegations.
 The Counterclaim alleges that interest was automatically due under the parties’ contract, that
 MCS demanded interest no later than November 2017, and that Triton paid the principal MCS
 billed it for, but not the interest. These allegations are demonstrably untrue.
         The facts are these: The parties’ contract provided that MCS “reserve[d] the right” to
 charge interest on “the amount past due,” but not that interest would be charged automatically,
 and MCS did not actually assert a right to charge interest until it filed its Counterclaim. At that
 point, no amount was past due because the invoices at issue had been paid two years earlier.
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        Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 4 of 27




MCS’s November 10, 2017 “demand letter” – which MCS admits was paid in the same month
in which it was sent – does not, as MCS falsely claims, demand interest under the parties’
contract. Further, as shown below, every highlighted word or phrase in the Counterclaim as
quoted above is either materially misleading or demonstrably false. Triton respectfully requests
that this Court direct MCS to show cause under Rule 11(c)(3), Fed. R. Civ. P., why it should not
impose sanctions for the costs of responding to MCS’s baseless Counterclaim. As Triton
advised MCS repeatedly, this Court is entitled to the truth.
        The parties’ contract did not provide, as the Counterclaim alleges, that Triton “will be
responsible to pay interest on any amounts invoiced and not paid within 30 days” or, as the
Counterclaim also and inconsistently alleges, that “interest commences to accrue” after 15 days.
(Counterclaim ¶¶ 104, 106.) Rather, the contract states only that MCS “reserves the right ... to
... charge interest on the amount past due...” (See Contract, annexed as Exhibit 1, ¶ 4(d).) Also,
MCS’s invoices did not become “payable by Client” unless and until no written objection was
received within fifteen business days after receipt. (Id.)
        On or about November 10, 2017, MCS billed Triton for the $19,250 it mentions in
Paragraph 105 of its Counterclaim. (See Counterclaim ¶¶ 105-07; Letter dated November 10,
2017, annexed as Exhibit 2 (the “Demand Letter”).) It is not yet clear whether this sum was
genuinely due or deliberately “withheld,” or whether Triton notified MCS of objections to any
of it. However, though MCS’s errors are material only to calculation of the amount at issue, the
Counterclaim is incorrect when it alleges that “Between February 2017 and November 2017,
TPS withheld amounts due to MCSC for services rendered prior to May 23, 2017 in the
aggregate amount of $19,250.” (Counterclaim ¶ 105.) The Demand Letter actually asks for
$19,250 based on five attached invoices which state that they became due at different times
between March 22 and July 21, 2017, and included “compliance services for June 2017,” not
just “prior to May 23, 2017.” (See Exh. 2.)
        Crucially, MCS never actually asserted its contractually “reserved” right to charge
interest on the $19,250 – though MCS falsely alleges that it did. According to MCS’s
Counterclaim, “on or about November 10, 2017, MCSC sent a demand letter in which it claimed
breach of contract and contract damages, including specifically interest then owed, and
threatened to file a draft summons and complaint attached thereto.” (Counterclaim ¶ 107
(emphasis added).) In fact, as Triton pointed out to MCS’s counsel in multiple emails on and
after November 5, 2019:
      None of the demand letter, its attached invoices or the draft complaint assert any
      right to charge interest at the contractual rate. Interest is mentioned only in the
      "Prayer for Reliew" (sic) of MCS's draft complaint, which contains a boilerplate
      demand for what can only be interpreted as statutory pre-judgment interest. If
      contractual interest had been sought, it would have been included in one of the
      complaint's causes of action for breach of contract.
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                                                 4
        Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 5 of 27




        MCS does not merely make the false allegation that its Demand Letter sought contractual
interest on its $19,250. MCS also makes the false allegation that “the Contract and each invoice
sent by MCSC clearly indicate that amounts due are net 15 days and that interest commences
to accrue thereafter.” (Counterclaim ¶ 106 (emphasis added).) As discussed above, that is not
what the parties’ contract says, and it is not what the copies of the invoices attached to the
Demand Letter say. Indeed, if there were any support at all for MCS’s allegations, MCS’s
counsel should have provided it in response to Triton’s emails of November 5 and later, most
recently November 14. (See Exhibit 3.) Counsel did not do so.
        Given these facts, MCS has no genuine right to the interest it seeks in its Counterclaim.
MCS admits that Triton paid MCS’s $19,250 demand in the same month that MCS sent it,
alleging that payment was “withheld” only through November 2017, despite MCS’s misleading
further allegation that the $19,250 was “eventually” paid. (Counterclaim ¶¶ 105, 108.) In fact,
counsel has been informed that Triton paid the $19,250 within ten days, two years before MCS
asserted any right to contractual interest.
         Further, the parties’ contract precludes MCS from demanding interest now. The contract
states that MCS reserved the right to charge interest only “[I]f payment has not been received as
set forth herein” and for “the amount past due.” (Contract ¶ 4(d) (emphasis added).) No amount
has been past due since November 2017, and MCS has no right to seek interest retroactively. In
addition, MCS’s demand letter asks for $19,250 as the “full amount” of Triton’s obligation. By
paying as requested, Triton accepted MCS’s settlement offer, and any further claim for interest
was waived.
        For the foregoing reasons, MCS’s Counterclaim should be dismissed with prejudice. It
is well established that a claim may be dismissed with prejudice under Fed. R. Civ. P. 12(b)(6)
based on documents integral to the complaint even if the documents are not attached. See, e.g.,
Cortec Indus v. Sum Holding, L.P., 949 F.2d 42 (2d Cir. 1991) (“Plaintiffs’ failure to include
matters of which as pleaders they had notice and which were integral to their claim – and that
they apparently most wanted to avoid – may not serve as a means of forestalling the district
court's decision on the motion...”). In the alternative, if the Court should determine that the
documents negating MCS’s Counterclaim are not “integral” to that claim, Triton asks that the
instant motion be treated as a motion for summary judgment pursuant to Fed. R. Civ. P. 12(d).
        There is only one genuine plaintiff in this action – Triton, which trusted MCS to provide
compliance services that MCS failed to provide. MCS’s Counterclaim is a baseless and
retaliatory act which should be dismissed or withdrawn with prejudice because it is contrary to
fact. Worse, MCS’s disregard for the truth, as demonstrated above, is a stern and unfortunate
warning of what is to come. (See also Letter dated September 17, 2019, Docket No.15 (pointing
out that MCS’s Mr. Kane had “misrepresented the grounds on which he based his extension



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                                                 5
        Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 6 of 27




request” by falsely claiming that he could not “get in touch” with his prior attorney.) MCS should
be sanctioned under Rule 11, Fed. R. Civ. P., both to compensate Triton for its unnecessary costs
and to deter further misrepresentations to this Court.

                                                       Respectfully submitted,
                                                     GRIFFIN HAMERSKY LLP
                                                     /s/ Richard K. Milin
                                                     Scott A. Griffin
                                                     Michael D. Hamersky
                                                     Richard K. Milin
                                                     420 Lexington Avenue, Suite 400
                                                     New York, New York 10170
                                                     Telephone: (646) 998-5580
                                                     Facsimile: (646) 998-8284
                                                     Counsel for Plaintiff Triton Pacific
                                                     Securities, LLC




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                                                 6
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 7 of 27




                     EXHIBIT 1
         Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 8 of 27



                                                 Agreement

This agreement (“Agreement”) is made as of December 20 2013, between Triton Pacific Investment
Corporation, Inc., Triton Pacific Adviser, LLC, and Triton Pacific Securities, LLC (together, “Client” or
"Party"), having offices at 10877 Wilshire Blvd., 12th Floor, Los Angeles, CA 90024, and Mission Critical
Services Corp., a New York-based corporation having offices at 641 Lexington Avenue, 15th floor, New
York, NY 10022 ("Mission Critical" or "Party"), (collectively, the “Parties”).

1. Services. Mission Critical shall provide compliance support and other business consulting services to
Client. Client will make all decisions with respect to the engagement(s) hereunder.

2. Responsibilities.

In connection with the performance of the services hereunder, Mission Critical:

a.      Shall report to, work under the direction of and participate in meetings and discussions as required
        and/or requested by Client upon reasonable notice and during normal and reasonable business hours;
        and
b.      Shall discuss all issues, recommendations and decisions related to the performance of the services,
        the status of the services or any major issue affecting the services with Client.

In connection with the performance of the services hereunder, Client:

c.      Shall perform the tasks, furnish acceptable personnel, provide the resources and undertake the
        responsibilities set forth in this Agreement; and
d.      Shall furnish, upon request by Mission Critical, use of a work area within its office space and
        provide access to and use of its utilities, telephone and facsimile systems and equipment, computer
        network, copier machines and supplies, as may be required by Mission Critical to perform its
        services as contemplated in this Agreement; and
e.      Shall be responsible for establishing and maintaining an adequate and effective internal control
        system, compliance program, record keeping, management, decision-making and other management
        and compliance functions. Mission Critical's work performed under this Agreement does not
        guarantee that errors or irregularities will not occur and may not detect errors or irregularities should
        they occur. Client recognizes that Client shall be fully and solely responsible for applying
        independent business judgment with respect to the services and work product provided by Mission
        Critical, to make implementation decisions, if any, and to determine further courses of action with
        respect to any matters addressed in any advice, recommendations, services, reports or other work
        product or Deliverables provided by Mission Critical to Client.

3. Representations and Warranties.

 a. All services provided hereunder by Mission Critical will be provided using the knowledge, skill and
    judgment in the manner that Mission Critical deems, in its sole discretion, to be the most suitable to
    perform the work contemplated hereunder; and
 b. Notwithstanding anything to the contrary contained in this Agreement, Mission Critical makes no
    warranties, express or implied, or whether arising by operation of law, course of performance or dealing,
    custom, usage in the trade or profession or otherwise, including without limitation, implied warranties or
    merchantability, noninfringement and fitness for a particular purpose; and
 c. Client understands and agrees that Mission Critical is not a public accounting firm and does not issue any
    representations or opinions on financial statements or the financial condition or record keeping
    procedures or offer any attestation services. Client further understands and agrees that Mission Critical
    is not a law firm and is not providing legal advice or opinions. To the extent required by the CFTC,
                                                 Page 1 of 4
          Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 9 of 27



    FINRA, NASDAQ, NFA, SEC, Treasury and applicable rules (referred collectively as the “Rules”),
    Client (i) acknowledges to Mission Critical that it is Client's responsibility to design, establish and
    maintain a system of internal accounting controls and compliance program in compliance with applicable
    Rules, (ii) acknowledges to Mission Critical that it is Client's responsibility to comply with required
    applicable Rules.

4. Invoices and Payment.

a. Fees. Mission Critical shall charge Client and Client shall pay for the compliance services rendered by
   Mission Critical based upon the time expended at $250 per hour; and
b. Expenses. If travel is required by Client, all out-of-pocket expenses (including, but not limited to,
   transportation, tolls, parking, lodging, meals, taxis, phone calls, Internet charges, supplies, etc) incurred
   by Mission Critical in connection with its performance of the services shall be pre-approved in writing
   by Client and be billed to Client at the actual amounts incurred. On occasion, travel must be performed
   during normal working hours, and, in those cases, Mission Critical shall charge its normal hourly rates.
   Mission Critical shall submit receipts for all expenses invoiced over twenty-five ($25.00) USD dollars.
   Mission Critical will use its best efforts to follow the travel policies of Client. Client will reimburse
   Mission Critical for all travel, actual out-of pocket expenses and meal allowance incurred while
   performing the services described in this Agreement; and
c. Invoices. Mission Critical will invoice Client the last business day of the month for payment of both fees
   and expenses incurred. Mission Critical will invoice any remaining accrued fees and expenses upon the
   termination of this Agreement; and
d. Payment. Client will make payment to Mission Critical no later than fifteen (15) business days upon
   receipt of invoices from Mission Critical by either regular mail, fax transmission, email, internet
   delivery, or personal delivery. If no written objections are received by Mission Critical within such
   fifteen (15) business day period, invoices shall be deemed accepted and payable by Client. All payments
   provided hereunder by Client will be in strict compliance with this Agreement. If payment has not been
   received as set forth herein, Mission Critical reserves the right, in addition to any other rights it may have
   to (i) suspend the services until such payment is made in full, (ii) charge interest on the amount past due
   at the lesser of 1.5% per month or the maximum allowed by law and (iii) invoice Client and Client shall
   be responsible for payment of all costs of collection including attorney’s fees.

5. General.

a. Confidentiality. Each Party acknowledges that it or its employees or agents may, in the course of
   performing its obligations under this Agreement, be exposed to or acquire information regarding this
   Agreement, the terms of the arrangement reflected herein or other information that is proprietary to or
   confidential to the other Party, such Party’s affiliates or third parties to whom such Party has a duty of
   confidentiality (“Confidential Information”). Each Party agrees to hold any Confidential Information in
   strict confidence and not to disclose such information to any person, except as may be necessary in
   connection with the performance by such Party of its obligations to the other Party hereunder or as may
   be required by applicable law to provide to a third-party. If required by applicable law to provide such
   Confidential Information to a third-party, each Party will use best efforts to give prior notice to the other
   Party. Each Party will advise each of its employees who may be exposed to Confidential Information of
   their obligation to keep such information confidential.
b. Non-Solicitation. Client recognizes and acknowledges that Mission Critical's employees, agents and
   affiliates are a valuable asset of Mission Critical's business and during the term of this Agreement and
   for a period of one (1) year after termination of this Agreement Client on behalf of itself and its
   affiliates, agents, employees and/or representatives, agrees not to in any way, directly or indirectly,
   solicit or induce, divert, take away, employ, retain or hire from Mission Critical on behalf of Client or on
   behalf of any affiliate, agent, employee and/or representative of Client, any of Mission Critical's
   employees, members, consultants, affiliates, agents or representatives with whom it (or they) may be
                                                  Page 2 of 4
          Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 10 of 27



   introduced or with whom it (or they) otherwise had contact as a result of the services that may be
   performed hereunder.
c. Responsibility of Information. Mission Critical shall be entitled to rely on the accuracy of all information
   provided by, and decisions and approvals of, Client in connection with Mission Critical’s work
   hereunder. Client hereby releases Mission Critical and its officers, directors and/or all personnel from
   any liability and costs relating to the services hereunder to the extent such liability and costs are solely
   attributable to any information provided by Client, its officers, directors, members and/or all personnel
   that is not complete, accurate or current in all material respects. All analyses, reports and other
   documents provided by Mission Critical to Client hereunder shall be collectively referred to herein as the
   “Deliverables”. All Deliverables shall have been prepared solely for Client's use. Mission Critical shall
   have no responsibility or liability for losses, damages, fees or costs incurred as a result of the
   unauthorized use, circulation, publication, reproduction or use of Deliverables contrary to the provisions
   of this Agreement. Deliverables will reflect Mission Critical’s observations as of the date work is
   concluded. Once Mission Critical has provided Client with Deliverables, Mission Critical assumes no
   obligation or responsibility to update or revise the observations contained in the Deliverables whether as
   a result of new information, future events or otherwise. However, should additional documentation or
   other information become available which impacts upon the observations described in the Deliverables,
   Mission Critical reserves the right to amend documents accordingly.
d. Indemnification. Client understands and agrees that because of the relationship established between the
   Parties pursuant this Agreement, Mission Critical (including its principals, officers, employees,
   consultants, independent contractors and agents) may be requested by a federal or state administrative,
   regulatory and/or judicial agency, or by other third parties, (collectively, the "Agencies”), whether by
   summons, subpoena or otherwise, to attend or provide testimony in an administrative and/or judicial
   proceeding, provide written or oral information and documentation to, or otherwise cooperate with such
   Agencies relative to an examination, inspection, audit, investigation or other administrative, judicial or
   private legal proceeding (collectively, the "Proceedings") involving the Client. In such event, the Client
   hereby agrees to compensate Mission Critical, at the rates set forth in this Agreement, for time spent by
   Mission Critical, its principals, officers, employees, consultants, independent contractors and agents in
   relation to such Proceedings. Client also agrees to reimburse Mission Critical for all costs and expenses
   incurred by Mission Critical, including, but not limited to, reasonably attorney’s fees, as well as costs
   and expenses incurred by Mission Critical in investigating or preparing for such Proceeding, in giving
   testimony or in furnishing information and documents. Client's obligations pursuant to this paragraph
   shall be applicable regardless of the cause or nature of the Proceeding. This paragraph shall remain
   enforceable and valid at all times and shall survive termination of this Agreement.
e. Notice. Notices and other communications from the Parties under this Agreement shall be in writing and
   delivered by hand, registered mail, or first class prepaid post to the party receiving such communication at
   the address specified below:

         If to Client:                                    If to Mission Critical:
         ___________________________                      Mission Critical Services Corp.
         ___________________________                      641 Lexington Avenue, 15th floor
         ___________________________                      New York, NY 10022
         Attn: ______________________                     Attn: Darren Kane, Managing Partner
         Email: _____________________                     Email: darren.kane@missioncriticalservices.com

f.   Non-Waiver. Waiver by any Party of any breach of this Agreement or the failure to exercise any right
     hereunder will not be deemed to be a waiver of any other breach or right, nor will the failure of any Party
     to take action by reason of any such breach or to exercise any such action deprive such Party of the right
     to take action at any time while such breach or condition giving rise to such right continues in effect.



                                                  Page 3 of 4
         Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 11 of 27



g. Severability. If any of the covenants, terms, conditions or provisions of this Agreement are held invalid
   for any reason, such invalidity will not affect the other provisions hereof which are intended to be and
   will be deemed severable.
h. Successors and Assigns. This Agreement will be binding upon and inure to the benefit of Mission
   Critical and Client, its successors and permitted assigns.
i. Entire Agreement and Amendments. This Agreement sets forth the entire agreement and understanding
   between the Parties as to the subject matter hereof and merges and supersedes all prior discussions,
   agreements, understandings, negotiations, correspondences, undertakings and communications (whether
   written, oral or electronic) of any kind and every nature between them. This Agreement may not be
   amended, changed, modified, discharged or abandoned.
j. No Agency Relationship Implied. Parties will each perform the obligations contemplated hereunder
   solely as independent contractors, and no joint venture, partnership, employment, agency or any other
   relationship is intended, accomplished or embodied in this Agreement.
k. Non-Disparagement. During the term of this Agreement and at all times thereafter, neither Parties shall
   defame, disparage, make negative statements about or act in any manner that is intended to or does
   damage to the goodwill, business or personal reputations of the other or any of its affiliates,
   shareholders, members, officers, directors, managers, employees, consultants and/or agents.
l. Disputes. Any controversy between Parties arising out of or relating to this Agreement will be settled by
   court in the borough of Manhattan, New York City.
m. Governing Law and Interpretation. This Agreement will be governed in all respects by the laws of the
   State of New York. Headings are for reference only and are not intended to affect the meaning of any
   terms.
n. Termination. The arrangements in this Agreement will apply from the date above until terminated by
   either Party on giving the other Party 30 days’ prior written notice. In the event of termination by either
   Party, Client shall pay Mission Critical the fees for all services and expenses incurred by Mission
   Critical through the date of termination.

IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the date first above
written.


Mission Critical Services Corp.

By:____________________________

Name: Darren Kane
Title: Managing Partner
Date: __________________________


Triton Pacific Investment Corporation, Inc.
Triton Pacific Adviser, LLC,
Triton Pacific Securities, LLC

By:____________________________

Name: Michael Carroll
Title: Chief Financial Officer
Date: 12-20-2013




                                                Page 4 of 4
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 12 of 27




                      EXHIBIT 2
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 13 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 14 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 15 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 16 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 17 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 18 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 19 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 20 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 21 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 22 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 23 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 24 of 27
Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 25 of 27




                      EXHIBIT 3
            Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 26 of 27




                                                                           Richard Milin <rmilin@grifflegal.com>



Re:
1 message

Richard Milin <rmilin@grifflegal.com>                                                 Thu, Nov 14, 2019 at 3:15 PM
To: Liam Obrien <lobrien@mcoblaw.com>
Bcc: Richard Milin <rmilin@grifflegal.com>

  Liam:

  Good talking to you today. As discussed, and for your convenience, here is the November 10, 2019
  demand letter, which I believe was paid in 10 days, and your client's counterclaim.

  As we discussed, and as I will inform the Court, the documents the counterclaim relies on show your
  client's allegations to be false. Paragraph 107 says that "on or about November 10, 2017, MCSC sent a
  demand letter in which it claimed breach of contract and contract damages, including specifically
  interest then owed..." (Answer Par. 107 (emphasis added).) That is false, as the attached demand letter
  shows.

  The counterclaim also alleges that "the Contract and each invoice sent by MCSC clearly indicate that
  amounts due are net 15 days and that interest commences to accrue thereafter." That too is false -- the
  contract merely reserves the right to demand interest, and none of the invoices we have seen mention
  interest. (See the attachments to the demand letter.) Further, the November 10 demand letter, and the
  complaint it attaches, only seeks principal without what could have been eight months of interest. Just
  add up the invoices it attaches, or read the text of the letter.

  It is also worth noting that (1) the letter, invoices and draft complaint are all addressed solely to TPS, and
  not to the potential third party defendants; (2) the demand letter offers to settle TPS's entire obligation if the
  $19,250 is paid, as it was; and (3) the contract only authorizes charging interest, upon MCS's exercise of
  its contractual right, on "the amount past due." There was no amount past due when interest was sought,
  for the first time, in your client's counterclaim.

  For these reasons, the counterclaim should be withdrawn, and the related third-party claim should not be
  served. The Court's timing has not allowed us to file a Rule 11 motion, so we do not expect to do so at this
  time, though I expect we will ask the Court to consider initiating a Rule 11 motion by order to show cause
  under Rule 11(c)(3). If we ultimately do obtain sanctions, whether for your client's serving a baseless claim
  on innocent third parties or otherwise, at least we gave you fair warning, beginning with my email on
  November 5, and we have offered you alternatives that would not prejudice any genuine rights your client
  may have. As you know, I've tried hard, based solely on the facts undisputed documentary record -- and
  the amount at issue is, as my emails showed you, less than $2,000!

  Best,

  Richard


  Richard K. Milin (Bio)
  Griffin Hamersky LLP
  420 Lexington Avenue | Suite 400 | New York, NY 10170
  T: 646.998.5580 | F: 646.998.8284 I C: 917.975.1326
  Email: rmilin@grifflegal.com
  Website: www.grifflegal.com
          Case 1:19-cv-05789-PAE Document 24 Filed 11/20/19 Page 27 of 27


On Thu, Nov 14, 2019 at 1:43 PM Liam Obrien <lobrien@mcoblaw.com> wrote:
 I am in a mediation. I shall call you when I have a break. Liam.



  Sent via the Samsung Galaxy S9, an AT&T 5G Evolution capable smartphone



  -------- Original message --------
  From: Richard Milin <rmilin@grifflegal.com>
  Date: 11/14/19 9:49 AM (GMT-08:00)
  To: Liam Obrien <lobrien@mcoblaw.com>
  Subject: Re:

  Call me on my cell, please.

  Richard K. Milin (Bio)
  Griffin Hamersky LLP
  420 Lexington Avenue | Suite 400 | New York, NY 10170
  T: 646.998.5580 | F: 646.998.8284 I C: 917.975.1326
  Email: rmilin@grifflegal.com
  Website: www.grifflegal.com


  On Thu, Nov 14, 2019 at 11:39 AM Liam Obrien <lobrien@mcoblaw.com> wrote:

    Any word? My client in pressing to proceed with service. Liam.


    Sent via the Samsung Galaxy S9, an AT&T 5G Evolution capable smartphone


3 attachments


                                        Griffin v1.png
                                        6K


    Scan of Demand Letter Invoices Summons and Complaint for Triton - KT - 20171110.pdf
    616K
    Triton Answer to Am Com.pdf
    344K
